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UNITED sTATES DISTRICT COURT 95 J `
WESTERN DISTRICT OF TENNESSEE UN ~9 PH 1,, 3h
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’ O"` m -`»“E`?'viaars
DAYTHAN HOUSER, )
)
Plaintiff, )
)
vs. ) Civil Action No.: ]:03-1227- B/P
)
CORRECTIONS CORPORATlON )
OF AMERICA, et al,. )
)
Defendants. )

 

AGREED ORDER HOLDlNG DEADLINES IN ABEYANCE

 

lt appears to the satisfaction of the Court that the parties have agreed, as
evidenced by the signatures of counsel for all parties below, that all deadlines be held in
abeyance until after a scheduled Status Conference on June 24, 2005. This matter being
agreeable With the Coui‘t, it is hereby,

ORDERED, that all current deadlines are held in abeyance until after the
scheduled Status Conference on June 24, 2005.

Dated: this 01 dayof JUV\L ,2005.

 

UNITED STATES~D-I~S'T'R}GT' JUDGE
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APPROVED FOR ENTRY:

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CERTIFlCATE OF SERVICE

l certify that a copy of the foregoing has bee
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n Served by U.S. mail upon Wayne

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OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 36 in
case 1:03-CV-01227 Was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

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Honorable .1. Breen
US DISTRICT COURT

